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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
    CALEB REESE et al.,                           :
                                                  :
          Plaintiffs,                             :
                                                  :
    v.                                            : Civil Action No. 6:20-cv-01438
                                                  :
    THE BUREAU OF ALCOHOL,                        :
    TOBACCO, FIREARMS AND                         :
    EXPLOSIVES et al.,                            :
                                                  :
          Defendants.                             :


    APPENDIX TO PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS
        OR FOR SUMMARY JUDGMENT AND MEMORANDUM IN SUPPORT OF
             PLAINTIFFS’ CROSS MOTION FOR SUMMARY JUDGMENT

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   Ex. B – Off. of Juvenile Justice & Delinquency Programs,
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF LOUISIANA
    CALEB REESE et al.,                                    :
                                                           :
              Plaintiffs,                                  :
                                                           :
    v.                                                     : Civil Action No. 6:20-cv-01438
                                                           :
    THE BUREAU OF ALCOHOL, TOBACCO,                        :
    FIREARMS AND EXPLOSIVES et al.,                        :
                                                           :
              Defendants.                                  :
                                                           :
                                                           :
                                                           :
                                                           :

                                  DECLARATION OF EMILY NAQUIN


            I, Emily Naquin, make the following declaration pursuant to 28 U.S.C. § 1746:

   1. I am a female citizen of Lafourche, Louisiana, over the age of eighteen and under the age of

         twenty-one.

   2. I am a member of the Firearms Policy Coalition, The Second Amendment Foundation, and the

         Louisiana Shooting Association.

   3. I have never been charged with nor convicted of any misdemeanor or felony offense. Other

         than my age, I am eligible to purchase and possess firearms including handguns, under all

         applicable state and federal laws.

   4. I am acquainted with the proper and safe handling, use, and storage of handguns and handgun

         ammunition.

   5. I do not own a handgun, but desire to own one for self-defense purposes. I would like to

         purchase a Smith and Wesson M&P Shield handgun and ammunition from a lawful retailer,




                                                   1

                                                                                            App. 1
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      and I would do so forthwith in the absence of the federal laws and regulations prohibiting me

      from doing so.

   6. I prefer to purchase a handgun from a licensed dealer rather than buying one secondhand

      because I want the handgun to be new and purchased from a dealer who is licensed and

      regulated by the government. And while under the law someone could purchase a handgun for

      me as a gift, no one has done so to date and I should not have to rely on the fortuity of a gift to

      exercise my right to acquire a handgun.

         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

   AND CORRECT.

   Executed on June ___, 2021

                                                                 __________________________

                                                                 Emily Naquin




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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF LOUISIANA
    CALEB REESE et al.,                                        :
                                                               :
              Plaintiffs,                                      :
                                                               :
    v.                                                         : Civil Action No. 6:20-cv-01438
                                                               :
    THE BUREAU OF ALCOHOL, TOBACCO,                            :
    FIREARMS AND EXPLOSIVES et al.,                            :
                                                               :
              Defendants.                                      :
                                                               :
                                                               :
                                                               :
                                                               :

                                 DECLARATION OF BRANDON COMBS


            I, Brandon Combs, make the following declaration pursuant to 28 U.S.C. § 1746:

   1. I am a citizen of Nevada and am over eighteen years of age. My statements herein are based

         on personal knowledge and experience.

   2. I am the President of Firearms Policy Coalition, Inc. I have held this position since 2014. In

         this capacity, I have access to, and personal knowledge of, FPC’s membership information and

         practices.

   3. FPC is a nonprofit organization incorporated under the laws of Delaware with a place of

         business in Clark County, Nevada. FPC seeks to defend and promote the People’s rights—

         including the right to keep and bear arms—advance individual liberty, and restore freedom.

         FPC serves its members and the public through legislative advocacy, grassroots advocacy,

         litigation and legal efforts, research, education, outreach, and other programs.

   4. FPC has members both over and under the age of twenty-one. FPC has members throughout

         the United States, some of whom reside in western Louisiana.


                                                      1

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   5. Plaintiffs Reese and Naquin are members of FPC.

   6. FPC brings this action as a public interest organization on behalf of its individual members in

      Louisiana between eighteen and twenty-one, male and female, who would purchase handguns

      and handgun ammunition from licensed retailers if it were not for the laws at issue in this case.

   7. FPC also brings this action as a public interest organization on behalf of member firearm and

      ammunition retailers in Louisiana who would sell handguns and handgun ammunition to their

      individual customers between eighteen and twenty-one years of age who are constitutionally

      entitled to acquire and possess firearms, male and female, but are prohibited from doing so by

      the laws at issue in this case.

   8. The injuries suffered by these members are germane to the core purposes of FPC.

          I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

   AND CORRECT.

   Executed on June 15, 2021

                                                                __________________________
                                                                Brandon Combs




                                                   2

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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF LOUISIANA
    CALEB REESE et al.,                                      :
                                                             :
             Plaintiffs,                                     :
                                                             :
    v.                                                       : Civil Action No. 6:20-cv-01438
                                                             :
    THE BUREAU OF ALCOHOL, TOBACCO,                          :
    FIREARMS AND EXPLOSIVES et al.,                          :
                                                             :
             Defendants.                                     :
                                                             :
                                                             :
                                                             :
                                                             :

                                  DECLARATION OF Jay D. Hunt, III


            I, Jay D. Hunt, III make the following declaration pursuant to 28 U.S.C. § 1746:

   1. I am a citizen of Louisiana and am over eighteen years of age. My statements herein are based

         on personal knowledge and experience.

   2. I am Director and Treasurer for Louisiana Shooting Association. I have held this position since

         2009. In this capacity, I have access to, and personal knowledge of, LSA’s membership

         information and practices.

   3. LSA is a nonprofit membership organization founded in 1966, with a place of business in

         Slidell, Louisiana. LSA seeks to promote and protect firearm owners’ constitutionally

         guaranteed right to own, bear, and use firearms for the protection of home and family, sport

         hunting, target shooting, and any other lawful purpose. LSA is affiliated with the Civilian

         Marksmanship Program, National Rifle Association, and the National Board for the Promotion

         of Rifle Practice. LSA provides support, services, competition sponsorship, instruction, and

         other promotion and facilitation of the shooting sports. LSA encourages and promotes training


                                                     1

                                                                                            App. 7
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      in hunter safety, marksmanship, and junior shooting, including by adults under the age of

      twenty-one.

   4. LSA has members both over and under the age of twenty-one throughout Louisiana, some of

      whom reside in western Louisiana.

   5. Plaintiffs Reese and Naquin are members of LSA.

   6. LSA brings this action as a public interest organization on behalf of its individual members in

      Louisiana between eighteen and twenty-one, male and female, who would purchase handguns

      and handgun ammunition from licensed dealers if it were not for the laws at issue in this case.

   7. LSA also brings this action as a public interest organization on behalf of member licensed

      dealers in Louisiana who would sell handguns and handgun ammunition to individuals

      between eighteen and twenty-one lawfully entitled to possess firearms, male and female, but

      are prohibited from doing so by the laws at issue in this case.

   8. The injuries suffered by these members are germane to the core purposes of LSA.

          I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

   AND CORRECT.

   Executed on June 15, 2021

                                                                __________________________

                                                                Jay D. Hunt, III




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                           EXHIBIT C




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   Q62G32M;*;;38:583;0      4                     4                       4                   S           4          4      2                    T                   3                             4                       2         4     UU
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